Case 9:18-cv-80176-BB Document 185 Entered on FLSD Docket 05/08/2019 Page 1 of 5



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC

         plaintiffs,
  v.                                                           Case No. 9:18-cv-80176 (BB/BR)

  CRAIG WRIGHT,

        defendant.
  _____________________________________/

                            DR. WRIGHT’S RESPONSE TO
                 PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY

         Dr. Wright’s Reply in Support of His Motion for Judgment on the Pleadings [D.E. 171]

  (the “Reply”) was “strictly limited to rebuttal of matters raised in the memorandum in

  opposition.” Local Rule 7.1(c). Plaintiffs’ Motion for Leave to File Sur-Reply (the “Motion”)

  should be denied because Dr. Wright strictly addressed, in order, the arguments that plaintiffs

  raised in their opposition [D.E. 159] (the “Opposition”).

         Specifically, Dr. Wright addressed the following arguments that plaintiffs raised in their

  opposition:

         •       Dr. Wright addressed plaintiffs’ argument that they “adequately alleged that Dave

  was W&K’s sole member,” Opp. at 7 (citing Second Amended Complaint [D.E. 83] ¶¶ 69-71),

  by demonstrating that, as a matter of law, their allegations were insufficient to invoke diversity

  jurisdiction, see Reply at 5-6;

         •       Dr. Wright addressed plaintiffs’ argument that W&K’s articles of incorporation is

  purportedly dispositive evidence of W&K’s complete membership, see Opp. at 3-4, by
Case 9:18-cv-80176-BB Document 185 Entered on FLSD Docket 05/08/2019 Page 2 of 5



  demonstrating that, as a matter of law, the articles of incorporation do not evidence an LLC’s

  complete membership, see Reply at 6-7;

         •       Dr. Wright addressed plaintiffs’ argument that Ms. Uyen Nguyen and Coin-Exch

  Pty (“Coin-Exch”) were just officers of W&K because of the abbreviations they used on

  sunbiz.org, see Opp. at 4-6, by establishing that abbreviations do not change the membership of

  an LLC, see Reply at 8.

         •       Finally, Dr. Wright addressed plaintiffs’ argument that the Court has

  supplemental jurisdiction, Opp. at 11-14, by demonstrating why the Court does not, Reply at 9-

  15.

         Plaintiffs’ Motion is nothing more than an unauthorized sur-reply, in which plaintiffs’

  advance unauthorized arguments, and it should therefore be stricken. Moreover, while plaintiffs

  brazenly allege that “Craig’s Motion contains outright misrepresentations of fact,” plaintiff had

  every opportunity to address these purported misrepresentations in their opposition brief. And

  even if there were anything to plaintiffs’ allegation about misrepresentations—which there

  decidedly isn’t— “a sur-reply is not justified to correct ‘an alleged mischaracterization.’” THEC

  Int'l-Hamdard Cordova Grp.-Nazari Constr. Co., Ltd. Joint Venture v. Cohen Mohr, LLP, 301 F.

  Supp. 3d 1, 8 (D.D.C. 2018) (citing U.S. v. Sum of $70,990,605, 4 F.Supp. 3d 209, 215 (D.D.C.

  2014)). Nonetheless, in an abundance of caution, if the Court were to consider the arguments that

  plaintiffs make in their motion for leave, Dr. Wright responds to plaintiffs’ arguments, in turn.

         First, plaintiffs claim that Dr. Wright made a blatant misrepresentation by stating that

  Ms. Nguyen stated under oath that she is a “managing member” or “member” of W&K. Motion

  at 2. To be clear—W&K’s 2014 Reinstatement and its 2015 Annual Report reflect that Ms.

  Nguyen swore under oath, and subject to a felony under Fla. Stat. § 817.155, that she is a


                                                   2
Case 9:18-cv-80176-BB Document 185 Entered on FLSD Docket 05/08/2019 Page 3 of 5



  “managing member” or “manager” of W&K. Moreover, if she and Coin-Exch were just officers

  of W&K and not members, then W&K had officers (but no members) for over six years.

         Second, plaintiffs claim that Dave Kleiman’s email to Lynn Wright regarding W&K’s

  formation was “submitted for the first time on Reply”; was really directed to Dr. Wright so that

  Ms. Wright was only copied; and, without any basis for so asserting, question whether the email

  is “even real.” This email is plaintiffs’ exhibit that they filed after Dr. Wright filed his Motion

  for Judgment on the Pleadings. See D.E. 157-2. Plaintiffs had an opportunity to address any

  issues about their own exhibit, but did not do so. Moreover, as to their argument that Ms. Wright

  was merely copied on this email, this is wrong—Dave also asks Ms. Wright what the company’s

  name should be, and she responds with “you choose.” See L. Wright’s email to D. Kleiman,

  attached as Exhibit A. Dave’s initial email was directed to her.

         Third, as Dr. Wright has demonstrated both facially and factually, plaintiffs have failed to

  invoke this Court’s subject-matter jurisdiction. Furthermore, plaintiffs’ argument that they can

  amend the complaint to now invoke subject-matter jurisdiction is incorrect because W&K’s

  membership is determined at the time of filing. Grupo Dataflux v. Atlas Glob. Grp., L.P., 541

  U.S. 567, 570 (2004) (“It has long been the case that ‘the jurisdiction of the court depends upon

  the state of things at the time of the action brought.’”) (quoting Mollan v. Torrance, 9 Wheat.

  537, 539 (1824)). But even if W&K’s membership could be changed through an amendment to a

  complaint, such action would still divest the Court of jurisdiction under 28 U.S.C. § 1359. See

  Castillo Grand LLC v. Sheraton Operating Corp., 2009 WL 4667104, at *2 (S.D.N.Y. 2009)

  (holding that there is no subject-matter jurisdiction where an LLC’s “reorganization was

  undertaken in order ‘to invoke the jurisdiction’ of this Court as contemplated by the plain

  language of § 1359.”)



                                                    3
Case 9:18-cv-80176-BB Document 185 Entered on FLSD Docket 05/08/2019 Page 4 of 5



            Fourth and Fifth, contrary to plaintiffs’ argument, it is their burden to establish that this

  Court has subject-matter jurisdiction. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,

  377 (1994) (“It is to be presumed that a cause lies outside this limited jurisdiction, and the

  burden of establishing the contrary rests upon the party asserting jurisdiction.”). A non-removing

  defendant does not have the burden of establishing subject-matter jurisdiction for a plaintiffs’

  complaint.

          Sixth, plaintiffs’ argument regarding Coin-Exch’s membership is nothing more than a re-

  hash of what they said in their opposition.

          Seventh, the document that plaintiffs use to describe Ms. Nguyen as being “nothing more

  than a puppet,” Mot. at 5, has absolutely nothing to do with whether this Court has subject-

  matter jurisdiction.

          Eighth, plaintiffs should have made their arguments regarding supplemental jurisdiction

  in their opposition. Their arguments regarding supplemental jurisdiction is improper to be made

  in a sur-reply, let alone a motion for leave to file sur-reply.




                                                     4
Case 9:18-cv-80176-BB Document 185 Entered on FLSD Docket 05/08/2019 Page 5 of 5



         For the foregoing reasons, Dr. Wright respectfully requests that the Court deny plaintiffs’

  Motion for Leave to File Sur-Reply.

                                                      Respectfully submitted,

                                                      RIVERO MESTRE LLP
                                                      Attorneys for Dr. Craig Wright
                                                      2525 Ponce de Leon Boulevard, Suite 1000
                                                      Miami, Florida 33134
                                                      Telephone: (305) 445-2500
                                                      Fax: (305) 445-2505
                                                      Email: arivero@riveromestre.com
                                                      Email: jmestre@riveromestre.com
                                                      Email: arolnick@riveromestre.com
                                                      Email: receptionist@riveromestre.com

                                                      By: s/ Andres Rivero
                                                      ANDRES RIVERO
                                                      Florida Bar No. 613819
                                                      ALAN H. ROLNICK
                                                      Florida Bar No. 715085
                                                      AMANDA MCGOVERN
                                                      Florida Bar No. 964263
                                                      BRYAN L. PASCHAL
                                                      Florida Bar No. 091576

                                  CERTIFICATE OF SERVICE

         I certify that on May 8, 2019, I electronically filed this document with the Clerk of the
  Court using CM/ECF. I also certify that this document is being served today on all counsel of
  record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
  Mail.

                                                                    _ /s/Andres Rivero
                                                                       ANDRES RIVERO




                                                  5
